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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                      Case No. 07-CR-20076-11

JERRY GUNTER,

              Defendant.
                                                  /

     ORDER DENYING DEFENDANT’S MOTION FOR RELEASE FROM DETENTION

        Defendant moved on July 19, 2007 for modification of his detention, seeking

referral to an inpatient drug rehabilitation facility. The court conducted a hearing on the

motion and deferred a conclusion until the Pretrial Services Officer made a fresh review

and recommendation as to the availability and suitability of a program such as

suggested by Defendant.

        The officer’s report has now been received by the court and was provided to

counsel. The officer recommends that the court not release the Defendant based

primarily on his previous poor performance and lack of motivation with respect to drug

treatment; the officer notes also that no available inpatient facility is secure. Accordingly,

        IT IS ORDERED that Defendant’s motion for release from detention [Dkt. # 123]

is DENIED.


                                            S/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE
Dated: August 8, 2007
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, August 8, 2007, by electronic and/or ordinary mail.

                                                                   S/Lisa Wagner
                                                                  Case Manager and Deputy Clerk
                                                                  (313) 234-5522




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